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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


 DEBORAH LAUFER,
                                        Case No. 3:20-cv-09193(FLW)
         Plaintiff,

 vs.                                    Electronically Filed

 EXTENDED STAY AMERICA SOMERSET
 – FRANKLIN, A Maryland Corporation,

         Defendant,



                    REPLY BRIEF IN FURTHER SUPPORT OF
       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT



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 II.    INTRODUCTION

        Plaintiff Deborah Laufer ("Plaintiff") is a resident of Florida and never alleges in the

 Amended Complaint that she has ever visited either the state of New Jersey or the hotel in

 question. There is no concrete current harm or risk of future harm. To satisfy federal pleading

 requirements, Plaintiff must sufficiently allege facts which, if proven true, state a claim upon

 which relief can be granted. Fed. R. Civ.P. 12(b)(6). Plaintiff has not done so. Plaintiff cannot

 overcome with volume of words the fact that standing does not exist in this case. Accordingly,

 the Court should grant the Motion to Dismiss filed by Defendant ESA Management, LLC,

 erroneously named as Extended Stay America – Somerset – Franklin, ("Defendant").

 III.   DISCUSSION

        A.      Plaintiff’s Extensive Reliance on Non-Controlling a Cases from Florida Fail
                to Establish Constitutional Standing in the District of New Jersey.

        Plaintiff’s Opposition is based on a series of Eleventh Circuit cases, specifically

 originating in Florida, that purportedly support Plaintiff’s position in the present case in New

 Jersey. See Pl.’s Opp’n. (Doc # 7) at 5-12. These cases are not controlling for the District Courts

 in New Jersey or the Third Circuit.

        Plaintiff’s Opposition to the Motion to Dismiss, lists and describes a large number of

 cases brought by a single serial plaintiff – Patricia Kennedy. See id. at 4-11. Incidentally, the

 cases involving plaintiff Kennedy were generally filed by the same plaintiff’s counsel as the case

 at hand – Thomas Bacon, Esq. While Patricia Kennedy and Thomas Bacon may have been

 successful in filing scores of nearly identical ADA cases in Florida, the so-called tester standing

 permitted by such Florida District Courts does not apply to the present case.

        Absent controlling authority from a higher court, District Courts are free to, and often do,

 disagree on the interpretation and application of federal laws to particular circumstances. Many
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 courts disagree with the formulation from the district courts in Florida. For example, courts in

 the Second Circuit have consistently held that being an ADA tester is not itself sufficient to

 establish standing. In Harty v. Luihn Four, Inc., 747 F. Supp. 2d 547 (E.D.N.C.), the court held

 that plaintiff lacked standing to sue for a visit to a store hundreds of miles from his home.

 Similarly, in Harty v. Greenwich Hospitality Group, LLC d/b/a Hampton Inn & Suites, 536 Fed.

 Appx. 154 (Mem), 2013 WL 5779641 (2nd Cir. Oct. 28, 2013), the Second Circuit affirmed

 dismissal of a claim asserted by a plaintiff who lived thousands of miles away from the subject

 location, had only visited it once, and who had no specific plans to return lacked standing to file

 an ADA claim. See also Norkunas v. Park Road Shopping Center, Inc., 777 F. Supp. 2d 998,

 1005 (W.D.N.C. 2011) (“[T]he law makes clear that a Title III plaintiff cannot use her

 status as a tester to satisfy the standing requirements where she would not have standing

 otherwise. Thus, the naked assertion of a desire to return to a defendant establishment for the

 sole purpose of confirming ADA-compliance, without more, is insufficient to establish

 standing.”). If the present case were filed in a district court in Florida, Plaintiff’s Florida

 authority might be controlling. Here, it is not.

         B.      Third Circuit Authority Supports Dismissal Of This Case

         Third Circuit authority supports dismissal of this case. In Hernandez v. Caesars License

 Co., Case NO. 19-cv-06090, 2019 BL 380939, (D.N.J. Oct. 04, 2019), the facts very closely

 mirror the fact in this case, ultimately resulting in the court dismissing the amended complaint.

         Just as in this case, the plaintiff in Hernandez was a Florida resident alleging website

 issues related to the defendant’s physical location in New Jersey. Defendant filed a motion to

 dismiss, which the plaintiff met with an amended complaint. The Court considered the motion to

 dismiss as applied to the amended complaint. The court specifically considered the issue of

 standing holding: A motion to dismiss under Fed. R. Civ. P. 12(b)(1) must be granted if the


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 court lacks subject-matter jurisdiction over a claim.” Id. at 2. The court also discussed tester

 standing, dedicating an entire section to the issue. Ultimately, the court found that plaintiff’s

 arguments regarding tester standing in the District of New Jersey were not convincing and

 granted the motion to dismiss:

        Without an allegation that he was actually considering staying in Harrah’s or that
        his experience accessing information on the Website was detrimentally different
        due to his disability, Plaintiff cannot demonstrate concrete injury… For the
        foregoing reasons, Defendant's Motion to Dismiss (Doc. No. 10) is GRANTED
        and Plaintiff's Amended Complaint (Doc. No. 11) is DISMISSED.

 Id. Doc # 19 at p. 5.

        The facts are nearly identical here, and so should be the outcome. Both cases involved

 the same pattern of serial filers residing in Florida spamming the courts with ADA lawsuits

 alleging claims against properties they have not visited and have no specific intent to visit

 located many states away. Both cases involve the plaintiff attempting to establish tester standing

 with an amended complaint, despite lacking concrete plans to visit the property in question.

 Florida law supporting testers is not sufficient to establish standing in the District of New Jersey.

 For this reason, Plaintiff’s Amended Complaint should be dismissed.

        C.      Fourth Circuit Authority Also Supports Dismissal Of This Case.

        In addition to existing Third Circuit precedent, Fourth Circuit authority similarly supports

 dismissal of this lawsuit. Payne v. Sears, Roebuck & Co., No. 5:11-CV-614-D, 2012 WL

 1965389, 2012 WL 135149 (E.D.N.C. May 31, 2012), is very similar to the case sub judice. In

 Payne the plaintiff was also a Florida resident suing for ADA violations at a Sears store several

 states away in North Carolina. Defendant moved to dismiss based on the plaintiff’s lack of

 standing. The court applied a four factor test for standing under Title III of the ADA:

                Courts consider four factors to determine whether an
                individual ADA Title III plaintiff has demonstrated a "real and
                immediate threat of future harm" and thus satisfied the first


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                requirement for Article III standing—an alleged injury in fact.
                These factors are: (1) the proximity of the plaintiff’s residence to
                the alleged offending establishment; (2) the plaintiffs past
                patronage of the establishment; (3) the definitiveness of the
                plaintiffs plan to return to the establishment; and (4) whether the
                plaintiff frequently travels nearby.

 Id. at 3.

         Thus, the four factors to consider in whether a Title III ADA plaintiff has standing in

 were as follows:

         (1) the proximity of the plaintiffs residence to the alleged offending establishment;

         (2) the plaintiffs past patronage of the establishment;

         (3) the definitiveness of the plaintiffs plan to return to the establishment; and

         (4) whether the plaintiff frequently travels nearby.

         The four factors considered by the court in Payne were mixed though they ultimately

 balanced in favor of the defendant. The court ultimately found that “[i]n sum, the relevant

 factors indicate that Payne has not shown a ‘real or immediate threat that [she] will be wronged

 again.’ Id. (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983)). Even with a mixed

 set of factors as shown above, courts in the Fourth Circuit will dismiss a case for lack of standing

 when in sum insufficient standing has been shown.

         Here, Defendant submits that the four relevant factors are far more favorable to

 Defendant than they were to the defendant in Payne. The four factors of Title III ADA standing

 are applied to the present case below:

         (1) Proximity: Plaintiff lives in Florida, which is even farther from the New Jersey

         property at issue than the plaintiff in the Payne case.

         (2) Past patronage: Plaintiff never alleged that she ever visited the property at issue in

         New Jersey.



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         (3) Plan to return: Here, Plaintiff never alleged in the Complaint any intent to return to

         or even visit for the first time, the hotel in New Jersey. Plaintiff makes only cursory

         allegations about a vague intent to visit the state when the COVID crisis is over. This is a

         very distant, uncertain and abstract allegation relating to sometime in the future.

         (4) Frequency of travels nearby: Here, Plaintiff failed to plead in the Amended

         Complaint that she has ever even visited New Jersey, a very far cry from frequent travel

         to the area.

         Put simply, the four factors considered in the Payne case support dismissal of the present

 case.

         D.      The Requirements For Standing Derive From Article III of the Constitution
                 Not the ADA

         Plaintiff’s Opposition also attacks a strawman argument. Plaintiff argues that the text of

 the ADA does not explicitly require an intent to visit or return to the property, and since no such

 requirement is stated in the statute, the Court should not impose one. See Pl.’s Opp’n. at 13-26.

 But Plaintiff misses the point; the requirement for an injury-in-fact element and connection

 to the property derives from the Constitutional requirement for standing, not from the

 ADA.

         “In order for [Plaintiff] to pursue his ADA claim, he must satisfy ‘the irreducible

 constitutional minimum of standing’ that is required in order to invoke jurisdiction in the federal

 courts.” Nanni v. Aberdeen Marketplace, Inc., 878 F.3d 447, 454 (4th Cir. 2017) (quoting Lujan

 v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)). The court in Nanni further explained exactly

 why standing is required:

                 In order to possess standing to sue in this proceeding, Nanni must
                 satisfy the elements of standing enunciated by the Supreme
                 Court in its Lujan decision. And only one of those elements —
                 the "injury-in-fact" element — is being litigated here. To satisfy


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                that specific element, the Complaint must show that Nanni
                "suffered an injury in fact — an invasion of a legally protected
                interest which is (a) concrete and particularized, and (b) actual or
                imminent, not conjectural or hypothetical." As further mandated by
                Lujan, because Nanni is seeking prospective declaratory and
                injunctive relief rather than damages, the allegations in the
                Complaint of past injuries "do[] not in [themselves] show a
                present case or controversy . . . if unaccompanied by any
                continuing, present adverse effects."

 Nanni v. Aberdeen Marketplace, Inc., 878 F.3d 447, 454 (4th Cir. 2017) (emphasis

 added)(internal citations omitted).

        Plaintiff’s Opposition attacks an argument that Defendant never advanced and that also

 ignores basic constitutional requirements for standing. Rather, Plaintiff argues that the ADA

 does not explicitly require standing. But Plaintiff cannot escape the basic standing requirement

 of Lujan that an ADA plaintiff have more than “past injuries” without future adverse effects.

 Here, Plaintiff claims as a Florida resident that she will possibly, one day visit a hotel in New

 Jersey in an area with which she has no connection or concrete reason to visit. These claims do

 not meet the clear Constitutional requirements for standing outlined by the court in Lujan. This

 is even more true in light of the more than 400 nearly identical ADA lawsuits that this Plaintiff

 has filed. The face of the Amended Complaint demonstrates that Plaintiff is not an individual

 with a genuine intent to visit the Subject Property in New Jersey. She is an individual with a

 desire to extract settlement sums from businesses that she will likely never visit.

        E.      Defendant Has Not Violated The ADA.

        Plaintiff states in her Opposition that “Defendant does not challenge the fact that the

 websites it uses to accept reservations discriminates against disabled persons.” Pl.’s Opp’n. at 2.

        First, Defendant strongly disputes these claims. Defendant’s website provides a wealth

 of detail about the accessibility features at the property as required by the ADA. Plaintiff’s

 claims are really about third party websites that Defendant does not own, operate or control.


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 Defendant has provided accessibility information about the Subject Property to those third party

 websites and requested that they include that information on their websites. Defendant is not

 required to do anything more as per Department of Justice guidance. More importantly this

 Court could not issue an injunctive relief order requiring Defendant to change a third party’s

 property/website. Thus, there would be nothing for the court to enjoin with respect to Defendant.

        Second, Plaintiff’s arguments about the merits of the case are not appropriate for a

 motion to dismiss. These claims can and will be disproven at the summary judgement stage or

 trial. Plaintiff’s claims that Defendant has violated the ADA are both untrue and irrelevant to

 the instant motion to dismiss.

 IV.    CONCLUSION

        Plaintiff lacks standing in this case, and the Court accordingly lacks subject matter

 jurisdiction. For all the reasons above, Defendant respectfully requests that the Court dismiss

 Plaintiff’s Amended Complaint.


 Dated: November 9, 2020                     Respectfully submitted,

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                                             Pro Hac Vice Motion to be filed




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